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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM

Honorable William B. Shubb
United States District Judge
Sacramento, California

                                         RE:   Shuantel Sharmain JARAMILLO
                                               Docket Number: 2:03CR00049-03
                                               CONTINUANCE OF JUDGMENT
                                               AND SENTENCING

Your Honor:

Per agreement with both counsel, it is respectfully requested that the above-referenced
case be continued from 09/27/2006 to 11/08/2006 at 9:00 a.m.

REASON FOR CONTINUANCE: The releasee's entrance into the San Joaquin County
Deferred Entry of Judgment program was delayed until October 7, 2006. Thus, further
time is needed in assessing her commitment and adherence to the drug treatment program
ordered by the State Court.

By copy of this memorandum, the Court Clerk is being requested to make appropriate
changes in the Court calendar.

                                 Respectfully submitted,


                                 /s/ George A. Vidales
                                GEORGE A. VIDALES
                           United States Probation Officer

REVIEWED BY:           /s/ Deborah A. Spencer
                    DEBORAH A. SPENCER
                    Supervising United States Probation Officer

Dated:        09/21/2006
              Elk Grove, California
              GAV/cj


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                                                              C O N T IN U A N C E ~ T O JU D G E (E JG ).M R G
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RE:   Shuantel Sharmain JARAMILLO
      Docket Number: 2:03CR00049-03
      CONTINUANCE OF JUDGMENT
      AND SENTENCING


cc:   Clerk, United States District Court
      James P. Arguelles, Assistant United States Attorney
      Rodrigo Moyorga (Appointed), Defense Counsel
      1007 7th Street, Suite 601
      Sacramento, CA 95814
      Probation Office




 X    Approved




September 22, 2006




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